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              EXHIBIT O
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            FEATURE ARTICLES


         10 Ballet Dancers to Follow on Social Media




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         For as long as the camera has existed, photographers have
         been drawn to dancers. Like a moth to the flame, they are
         pulled to the artists’ beautiful lines and charming,
         magnetic allure. What better subjects could a
         photographer ask for? Dancers know their bodies and are
         able to shape them and pose them in an endless array of


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         stunning variations. Combine that with limitless fashion
         choices, boundless settings and immeasurable thematic
         elements, and dancers are unsurprisingly featured in many
         ad campaigns, clothing lines and artistic projects.

         In today’s
         high-tech age,
         dancers have
         taken matters
         into their own
         hands –
         literally. With
         the use of
         their phones,
         tablets and
         gadgets, dance
         professionals      Maria Kochetkova posted on her Instagram
                            two months ago, “Inspired by
         have
                            @lilbuckdalegend performance tonight
         capitalized on     #KeithHaring.” Photo courtesy @balletrusse.
         their allure by
         inviting fans into their worlds via social media. They post
         selfies, behind-the-scenes shots, peeks at their personal
         lives, quiet moments in the studio, touring glories and yes,
         even those professional images that make our jaws drop.
         In doing so, they’ve created more devoted fans on a
         global scale and have built their personal brand,
         accelerating their renown and taking their careers to new
         heights.

         Here, we’ve listed some of the ballet dancers who do this
         best. Whether via Facebook, Instagram or Twitter (or all
         of the above), these artists have built an impressive
         following via social media. Their accounts are
         inspirational to follow, giving aspiring dancers an
         insider’s look. Check them out!

         First up is Maria Kochetkova, a principal dancer at San
         Francisco Ballet known for her quirky, fashion-forward
         style and petite frame. With a background including
         training at the Bolshoi School in Moscow and performing
         with The Royal Ballet, English National Ballet, and as a


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         guest artist with Tokyo Ballet, Bolshoi Ballet and
         Mikhailovsky Theater, she is a one of the foremost
         dancers in the world often in high demand. Lucky for us,
         she likes to share what she’s working on – with all
         406,000 Facebook followers and 88,000 on Instagram
         @balletrusse.

                                                     Another
                                                     Russian
                                                     dancer with a
                                                     massive
                                                     global
                                                     following is
                                                     Diana
                                                     Vishneva, a
                                                     principal at
                                                     both
                                                     American
         Diana Vishneva posted this sweet backstage  Ballet Theatre
         moment to her Insta two months ago after
                                                     (ABT) and the
         performing “The Sleeping Beauty” for ABT
         with Marcelo Gomes at Segerstrom Center     Mariinsky
         for the Arts. She wrote, “Thanks for waking Ballet
         me up after 100 years…” Photo courtesy of   (formerly the
         @dianavishneva.                             Kirov Ballet.)
                                                     With 326,000
         followers on Facebook and 45,000 on Instagram
         @dianavishneva, she is a prima ballerina not just
         onstage, but online.

         Fellow ABT Principal Daniil Simkin has especially
         become known for his dance photography and social
         media presence, with The New York Times even writing
         about it in a recent article. He has more than 46,000
         Facebook followers and 44, 200 Instagram fans for
         @danill. His Insta description reads, “Trying very hard
         to be artsy, badass and not obnoxious at the same time…
         Living in and loving NY.” He definitely achieves the
         artsy side of his wish list, as many of his images
         beautifully capture the energy of his fellow dancers and
         the frenzy of movement backstage and in rehearsal.



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         One ballet and pop culture heavyweight is      Misty
         Copeland, boasting more than 464,000 followers on
         Instagram @mistyonpointe, 45,000 on Twitter
         @mistyonpointe and 191,000 on Facebook. With this
         ABT soloist recently landing herself on the cover of
         TIME Magazine, her celebrity status is only continuing
         to build. She uses her social media pages to dually
         promote herself and the organizations/businesses she
         works with, from Under Armour, to ABT, to her memoir
         Life In Motion. She might be the best example of using
         social media to define yourself as a “brand.”

         Boston Ballet
         Principal
         Dusty
         Button
         contends for
         attention as
         well, with
         71,900
         followers on
         Instagram

                                Dusty Button posted an image of her in the
                                studio stretching in March. She said, “We
                                must first stretch the canvas before painting.”
                                Photo courtesy of @dusty_button.

         @dusty_button. Her page provides wonderful snippets
         of her life, from short videos shot in the studio, to her love
         of sports cars, to playing video games with her husband,
         to portraits of her in various poses by leading dance
         brands.

         Independent artist Wendy Whelan, known for her long
         career as a principal at New York City Ballet (NYCB),
         also uses social media to share about the inner workings
         of her life. She shares everything from pictures of her
         dogs to life on tour for her Restless Creature with her
         17,700 followers on Instagram @wendyw.

         One account dancers should be sure to follow is


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         Benjamin Millepied’s. Whether you follow his
         Facebook or Instagram, you’ll enjoy his behind-the-
         scenes images of the Paris Opera Ballet. As the new
         Artistic Director, he gives us fresh access to these world-
         class dancers. Often hazy and tinted, his photos offer his
         32,000 Instagram and 51,000 Facebook followers a
         unique, dreamlike quality.

         French dancer Fabrice Calmels, on the other hand,
         posts images that are clear and to the point, often
         rehearsal shots or season campaign ads for The Joffrey
         Ballet. However, what makes his page popular is his
         modeling images and encouraging words. In January, he
         posted these sentiments alongside an image of him
         warming up: “Everyday is not always a victory, and
         sometimes a small event can set you back. Today might
         be a down day but tomorrow will be great. Keep going
         forward.” Recently featured in a Samsung Mobile ad, he
         also tutors budding ballet dancers. Follow Fabrice
         @FabriceCalmels.

                                                               A fun dancer
                                                               to follow and
                                                               glean from is
                                                               NYCB
                                                               Principal
                                                               Sara
                                                               Mearns.
                                                               With over
                                                               22,000
                                                               followers on
                                                               Instagram


         Michaela DePrince backstage before
         performing “Diamonds” in “Jewels” three
         months ago. Photo courtesy of
         @michaeladeprince.

         @saramearns and 4,800 on Twitter @nycbstar2b,
         she gives the public a more intimate look at her life,
         allowing them to connect to her more personally. Her fans



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         rejoiced with her at the end of April when she had her
         Broadway debut in On The Town.

         Finally, one gorgeous and inspiring dancer you don’t want
         to miss is Michaela DePrince, currently performing
         with the Dutch National Ballet. Known for her moving
         personal journey that was told in her book Taking Flight:
         From War Orphan to Star Ballerina, this young star is
         truly a positive force in the world showing everybody that
         their dreams are possible. Her 62,000 followers on
         Instagram @michaeladeprince, 5,000 on Twitter
         @michdeprince and 20,000 on Facebook surely
         agree.

         Now, by no
         means is this
         list
         exhaustive.
         There are
         many other
         dancers to
         check out –
         such as
                          Last November, Daniil Simkin posted to his
         Complexions
                          Facebook, “We’re about to go onstage on
         Contemporary our last show of our tour here in Venice at
         Ballet Co-       the most gorgeous theatre Teatro La
         Founder          Fenice…” Photo courtesy of Daniil Simkin.

         Desmond
         Richardson (who has nearly 6,000 followers on Instagram
         @desmondrich7), NYCB Principal Ashley Bouder
         (who has over 12,000 followers on Instagram and over
         9,000 on Twitter @ashleybouder) and ABT corps
         dancer Stephanie Williams (with 16,000 followers on
         Instagram @wheresmytutu), to name a few.

         So we turn the gantlet over to you – who are your favorite
         ballet dancers to follow? Share below!

         By Chelsea Thomas of             Dance Informa.

         Photo (top): Joffrey Ballet dancer Fabrice Calmels in the


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         studio in Chicago. Photo via Fabrice Calmels.



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         BALLET THEATRE SOLOIST MISTY COPELAND, ASHLEY
         BOUDER, BENJAMIN MILLEPIED, BOLSHOI BALLET, BOSTON
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         DANIIL SIMKIN, DESMOND RICHARDSON, DIANA VISHNEVA,
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         MEDIA, STEPHANIE WILLIAMS, THE PARIS OPERA BALLET, THE
         ROYAL BALLET, TOKYO BALLET, TWITTER, WENDY WHELAN



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         Dancing duality:         The arts as part of         Dancers as models:
         Boston Ballet’s Fall     the conversation in         Storytelling through
         Experience 2024          vildwerk.’s                 movement
                                  inaugural season




                                     2 COMMENTS




            DANCE TEACHER RESOURCES




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         Dance Teacher Web Live Heads to East Coast




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         The ever-popular and highly anticipated Dance Teacher Web Live (DTWLive), a four-day event that caters to
         dance teachers and studio owners, will take place on the east coast for the first time since it was first created
         in 2009. To be held at Foxwoods Resort and Casino in Mashantucket, Connecticut, August 3-6, DTWLive
         will include an expo of the world’s top dance merchants, movement classes and business seminars. DTWLive
         anticipates close to 700 attendees this year and is offering an early bird rate for those who register by May 15.

         “We are very excited to have a wonderful event planned, and this
         new location offers some great different options for attendees,”
         says Steve Sirico, co-founder of Dance Teacher Web. “I have
         been told by our attendees that what makes us unique is that we
         offer curriculum for all levels. This way, no matter what you
         teach, from preschool to recreational or advanced, we have
         classes that will give you great useable material. Plus, you won’t
         find our business seminars anywhere else.”

                                                                                               The Expo Hall is always buzzing with
         The decision to move the event to the east coast this year, as it’s
                                                                                               excitement and amazing offers.
         usually held in Las Vegas, stemmed from Sirico and his wife’s
         growing relationships with dance teachers in the area and the
         location of their own studio in Connecticut for the past 28 years.

         Sirico says DTWLive has an amazing lineup of master teachers, including Aaron Turner, Liz Imperio,
         Simone DePaolo and Wayne Sleep, and business professionals such as Misty Lown, Robert Landau and Joy


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         Gendusa. Movement sessions will offer fresh content and ideas for dance classes, syllabi for all dance styles
         and choreography strategies for all levels. Business-centered classes will highlight management and
         marketing strategies, financial and insurance plans and more. All seminars aim to enhance business, and
         participants can mix any combination of movement and business classes as they see fit.

                                                               Sirico and his wife, Angela D’Valda Sirico, along with Robert
                                                               Landau, will also present a pre-conference seminar on “The
                                                               Ultimate Leadership for the Dance Professional”, which is only
                                                               open to 50 participants and is already quickly filling up. For the
                                                               third year in a row, DTWLive will offer the Dance Teacher
                                                               University Program, a new and progressive teacher certification.

                                                               “Our event is strictly for the dance professional and dance studio
         Dance Teacher Web Live faculty member
                                                               staff,” Sirico adds. “No students or parents. Our event is about
         Aaron Turner.
                                                               giving back to the busy dance teacher, studio owner and dance
         studio business staff.”

         Sirico’s favorite aspect of each year’s DTWLive event is connecting and reconnecting with the teachers.

         “It is great to see everyone network and build a lasting relationship with their peers. We have so much fun
         hearing about everyone’s successes and if they have had issues, as we can all brainstorm on how to make
         things better!”

         This year’s location, Foxwoods Resort and Casino, is
         located in scenic Connecticut and is easily accessible by plane,
         train, bus, ferry or car. The resort also offers many activities aside
         from the DTWLive classes and seminars. DTWLive offers a
         special room rate of $139 per night, which can be redeemed by
         calling the hotel at 1-800-369-9663 and asking for the Dance
         Teacher Web rate.

                                                                                               Dance Teacher Web Live founders Steve
         For more information on DTWLive and how to register for
                                                                                               and Angela D’Valda Sirico with NappyTabs.
         this year’s first-ever east coast event, head to
         www.dtwconference.com.

         By Laura Di Orio of Dance Informa.

         Photo (top): A Dance Teacher Web Live class for dance teachers and studio owners. Photo courtesy of Steve
         Sirico.



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         SIMONE DEPAOLO, STEVE SIRICO, THE ULTIMATE LEADERSHIP FOR THE DANCE PROFESSIONAL, WAYNE SLEEP



                                                                                                            



         RECOMMENDED FOR YOU




         Dance Teacher Web Conference &                 Keep the dancers dancing: Stagestep            Dance Teacher Web offers monthly
         Expo takes you to the top                      tap boards                                     hot topics and tips



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            TOP STORIES


         tWitch dishes on his new role as SYTYCD mentor




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         Dance Informa caught up with Stephen “tWitch” Boss of       So You Think You Can Dance fame while he
         was teaching at 24Seven Dance Convention in Atlanta in late March.

         In our interview, tWitch dished on his newly announced role as mentor on SYTYCD with Travis Wall, plus
         his role in the film Magic Mike XXL, his recent performance with the First Lady, how him and Allison
         Holker balance their relationship with work, and a dream he hopes to achieve down the road…

         Congratulations on being named a mentor for So You Think You Can Dance! What is it like
         to have gone from being a contestant to an All-Star to now a mentor?

         “The journey’s been incredible! It’s come full circle, which is truly amazing! If I hadn’t made it into the show
         the year I competed, I would have gone into the Navy. That was my plan. So now every time I look back on
         my experience as a competitor and how they invite me back today, I feel blessed. It’s incredible!

         Being named a mentor is really great because this is something that Travis and myself wish we had had while
         we were competing. You want to have somebody who’s been through it that you can talk to. We would call
         our friends and get advice, but that was it. So to have someone there that’s been appointed, who’s been
         through it, that’s been an all-star, a choreographer or a judge, that’s incredible. We have so many different
         points-of-view to bring to a contestant, which is super, super, super helpful.”

         It sounds like you will be a major help to this season’s
         competitors! Can you tell us more about the Street

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         component of this season? It’s been announced that
         the new season will feature Stage dancers vs. Street
         dancers. What’s that about?

         “The Street Team is going to basically be comprised of any dance
         that is found on the street and not necessarily being taught or
         trained in studios. And that goes for a wide variety of things.    All-Stars Chelsie Hightower and tWitch
         Many people have been thinking the new show format is hip-hop      performing on ‘So You Think You Can
                                                                            Dance’ Season 10 Top 8 episode. Photo
         vs. contemporary but that’s not necessarily it. There are ballroom
                                                                            courtesy of FOX.
         styles that have a street component to them, like salsa, Argentine
         Tango and so on. So we very well may have a ballroom dancer on the Street Team.”

         That sounds interesting! So, what stage is the show in now? Have you met the dancers
         you’ll be mentoring?

         “Travis and I will actually be going to the Vegas auditions at the end of April. So that will be the first time we
         will see everybody that they’ve brought together from all over in the regional auditions. So that is really
         exciting!”

         Will you get to dabble in choreography in this role?

         “I myself won’t be doing choreography but maybe Travis will. I’ll work with the dancers on the
         choreography that’s been set on them and give them notes that the choreographer would like them to focus
         on… We want to make the contestants look their absolute best.

         On top of this, Travis and I are in a race to see which dancer is going to be America’s favorite. We both want
         it to be one of ours!”

                                                               What would you say to the SYTYCD fans who are
                                                               unsure of the new format? Why do you think people
                                                               should tune in and give this new setup a chance?

                                                               “Especially the die-hard SYTYCD fans, they should be sure to
                                                               tune in. It’s still everything you love about SYTYCD and they’re
                                                               still going to see amazing dancers and amazing choreography
         Competitor Jessica Richens and all-star               every single week… There is bound to be something mind-
         tWitch on SYTYCD. Photo courtesy of FOX.              blowing every episode. I think that is incentive enough.

         Also, speaking from the Street perspective, this season is exciting because we’ll be equally recognizing some
         phenomenal street dancers. In past seasons we’ve lost some of the best street performers because they


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         couldn’t pick up some choreography like ballroom and stuff like that. This time in Vegas we’re eliminating
         that component and each group’s dancers will be doing all of the things they’re more used to – Travis’
         dancers doing ballet, contemporary and jazz and us doing all street choreography. So they won’t be thrown
         completely out of their comfort zone, but rather just challenged and stretched.”

         Let’s talk about Magic Mike XXL. How did you get the opportunity to star in this film?

         “I got the opportunity because Channing [Tatum], who wrote the story, reached out. The guy I play, my
         character, is Malik.

         In the first Magic Mike, the group of guys take a road trip to a stripper convention and on the way they stop
         by another club because they need an emcee, someone to host them on the mic. In this club there are different
         performers, which is where I come in. In this film, I’m acting alongside Donald Glover and Michael Strahan.
         There’s a scene where Channing and I dance together. We have a strip off, which is epic in it’s own right…
         [Laughs.]”

         Did you choreograph for the film? What was filming like?

         “No, I didn’t. Alison Faulk did. She did an incredible job. She did
         everything to a ‘T’ and it was amazing, because all the guys felt
         comfortable.

         Even though we were all playing strippers and taking off our clothes,
         which can be uncomfortable, it wasn’t that bad because we basically
         spent all rehearsal in so much laughter. You would think from the outside
         perspective that things can get awkward sometimes, but it wasn’t because
         everything was so hilarious. Everybody was so professional. And we all
         laughed about the fact that if anyone walked into the room and didn’t
         know what they were walking in on, it would be so funny because we’d
         be caught in the most ridiculous positions. But it was great.                                  tWitch on the Magic Mike XXL
                                                                                                        poster.
         The guys were fantastic. Channing is one of my favorite guys. While he’s
         an international mega-star, he is so real and sits and talks to you at eye-level. There is no ego there and that
         spread throughout the whole production. All the guys are very cool. It never got too testosterone-y.”

         So there’s a lot of dancing?

         “Oh, yeah! There’s a lot of dancing and singing!”

         Did you sing?

         “Oh no, no! [ Laughs.]”


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         Well let’s transition from talking about this male stripper movie to talking about your
         marriage. [Both laugh.] How do you and Allison balance your busy schedules with traveling
         a lot and her coaching on Dancing With The Stars?

         “It’s a constant work in process, to be quite honest. We are running through every open door that there is
         right now but we also have to keep our grasp firm on the importance of family first. Family comes first.
         Period. No matter what. So we constantly juggle that with all the things we’re tied into. We know that if there
         was ever any type of major conflict, if we had to choose, we already know the first choice we’d make.

         We always say it takes a village too. We have a babysitter and family friends who help us and it’s a constant
         work in progress. But I think we’re doing really well so far!”

                                                               While she’s been on TV weekly with DWTS, you’ve also
                                                               been featured quite a few times recently, such as
                                                               dancing on The Ellen Show…

                                                               “The Ellen Show is incredible! Ellen DeGeneres is so generous
                                                               and kind—and hilarious! So it’s always a good time!”

                                                               And Michelle Obama was on the show with you too!
         tWitch at White House Easter Egg Roll in
         April. Photo courtesy of The White House.             “YEAH! That was incredible! I danced with the First Lady, you
                                                               know? Wow!”

         Are there any other projects you’re working on right now?

         “Yes, Allison and I are both the Creative Directors of Revolution Dancewear… Allison will have some
         pieces coming out this spring most likely, which is going to be very exciting.”

         And one last question – what’s something you want to do down the road that you’ve never
         had the opportunity to do yet?

         “I want to continue to do acting but without dance attached. I want to have a regular role, whether on a TV
         series or in a movie.”

         See tWitch on Season 12 of SYTYCD, which will premiere June 1. Catch him in Magic Mike XXL
         when it opens in theatres on July 1. Students can dance with him at 24Seven Dance Convention in
         Dallas on May 8-10 and Santa Clara on May 15-17. Plus, he’ll be teaching at BuildABeast
         Experience, at DancerPalooza’s Pool Party and KaMotion Intensives this summer.

          By Chelsea Thomas of             Dance Informa.



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         Photo (top): tWitch. Photo courtesy of Fox Winter TCA.



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            TOP STORIES


         Caitlin Abraham on Being a Swing in ‘An
         American in Paris’


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         Caitlin Abraham is one of those dancers you notice the minute she walks into the room. Her striking features:
         a tall, lean physique, dark doe-y eyes, and curly brown hair, are even secondary to her exquisite technique
         and glowing poise. With beauty, talent, and a heart of gold, it’s no wonder Caitlin seems to always, always
         be working. And to top it off, Caitlin’s often cast as the most important job in the show: the swing. Now
         swinging for her third time in An American in Paris (previously La Cage aux Folles on Broadway and
         Chicago on tour), Caitlin luckily had a free moment to chat with Dance Informa about what it really means
         to be a swing.

         What was your dance and musical theatre training growing up?

         “I was born and raised in New Jersey where I studied ballet, tap, and gymnastics at a small school until my
         family moved to Detroit. That’s when I got serious about ballet. All I wanted was ballet. Three hours per
         week eventually turned into twenty hours per week! I left home at sixteen to go to Interlochen Arts Academy.
         As for musical theatre, I didn’t train much as a kid. I took drama in high school but it was very hard to
         balance that with my serious ballet training. I mean, I sang with my daddy at church, but I didn’t grow up
         with any real vocal training or anything until I started to think beyond the ballet world. Twyla Tharp’s Movin’
         Out made me realize that life ‘after’ ballet could be Broadway.”

                                                      What are some of your favorite credits?



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                                                      My very first credit when I moved to New York was On the Town at
                                                      Papermill Playhouse. I remember waking up every morning with the
                                                      song, “New York, New York” in my head—it just felt so right! Later I
                                                      played Liz in Chicago on tour. Chicago was another one of those
                                                      musicals that really sparked my interest in theatre. The female characters
                                                      were amazing—so strong, sexy and powerful.

                                                      What was the audition process like for An American in Paris?

                                              “I made it to final callbacks for the initial workshop but couldn’t attend
                                              because it fell on a day when I was actually playing Cassie in A Chorus
                                              Line out in California. But I really wanted to make up for it. The creative
         Caitlin Abraham, Swing in ‘An
         American in Paris.’
                                              team came to San Francisco as part of the audition tour and, even though
                                              it was the day of our invited dress for A Chorus Line, I spent the whole
         day auditioning again. I made it to the final four at the end, but didn’t get the gig. When I came back to New
         York, however, they were auditioning again. Rumor had it that there were hardly any spots open, but of
         course I went anyway! That audition was incredible. The stakes were so high and it was exciting to be
         dancing amongst some of the most talented dancers in the city.

         One of the most memorable moments of the audition was when I got to partner with a principal dancer from
         New York City Ballet. Christopher Wheeldon’s choreography feels so amazingly lyrical—how you arc
         through melodic line. I was auditioning right in front of him and nailed a triple pirouette! In my head I was
         like, ‘That was good!’ But, there was a whole lot of good in that room! Well, I got the call on my birthday.
         That was pretty much the best present ever!”

         What was it like rehearsing and performing in Paris?

         “This is an enormous show with a lot of sets and moving parts. The language barrier was also tough
         sometimes. Paris is such a different culture, too. We’re so inundated with musical theatre here in the US, but
         in Paris, it was so new and fresh and exciting.”

         How did this out-of-town engagement inspire the show before its highly anticipated
         Broadway run?

         “Just living in Paris, walking the streets, visiting the museums, seeing the monuments, talking with people,
         eating the food, and embracing the lifestyle fostered a sense of groundedness in the show itself. It gave all of
         us a very rich point of reference. We didn’t just research the culture and history of the show—we basically
         lived it! I feel like it gave us so much flavor and also a real ability to transform the show not into a Broadway
         stage, but into Paris itself. We got rave reviews in Paris…and that only sparked our desire to really bring
         something spectacular back to Broadway.”


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         What makes An American in Paris different from some of the other shows on Broadway
         right now?

         “I have to say that there’s something really special about George Gershwin’s music. It’s magical to sing and
         dance to such a lush score. And Christopher Wheeldon’s choreography has such arc and rhythm to it. As a
         dancer, it’s so rare that you actually get to use all of your skills in a single show. We’re doing ballet, pointe,
         partnering, tap, and jazz! Some numbers are up to fourteen minutes long—so the dancing really tells the
         story. There’s also something very genuine about our show. It’s not giving you sass. There are definitely
         elements of humor, but there’s nothing crass or trendy. You know, our show is elegant. The characters are
         beautiful, aspirational and real—and that seems to really resonate with our audiences. Nowadays, I don’t
         think you’ll find that in many shows on Broadway.”

         You’ve been a swing before—you must be an expert by now! What is it like to be a swing?

         “Well, you never get bored…because you never know what’s coming. I do six different tracks in the show—
         some are more dancer-tracks while others are more singer-tracks— so I really get to use all of my skills. A
         swing needs to be really intelligent, organized, reliable, and professional. You’re not on stage every night and
         that takes a lot of discipline to be ready at any moment (hours before, minutes before, or even during
         Intermission). Two hours before curtain I’m always watching my phone as if I were a surgeon on-call!”

         What do you do during shows when you’re not
         performing?

         “I do paperwork, often, because there are a lot of ‘track sheets’
         that I use to keep track of all the wings, sets, blocking, and
         choreography. Another cool thing about our show is that we move
         all of the sets ourselves. There’s not a lot of mechanics involved.
         It’s almost as if the transitions are part of the show’s
         choreography. There are nearly four hundred color-coated spike         An American in Paris. Photo by Angela
                                                                                Sterling, 2014.
         marks that I need to know! I keep both long-form ‘track sheets’
         backstage and also little ‘quick books’ if I’m thrown on for a
         certain track. If I’m not doing paperwork, you’ll probably find me in the studio (yes, we have a studio
         backstage!) where I can review choreography, stretch, or work on my harmonies. Sometimes I’ll ‘trail’
         backstage which means I’ll literally follow an actor throughout the show (on and off-stage) so I am fully
         familiar with their entrances, exits, and backstage choreography. There’s very, very little room backstage so
         the backstage choreography (quick changes, prop hand-offs, etc.) are just as important and what goes on on-
         stage. Another thing swings can do during a show is to watch from the front of the house. This is useful to
         keep track of spacing and choreography. It’s really important to stay ‘in-touch’ with the show even when
         you’re not on stage.”




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         How did the rehearsal process go?

         “I would learn the choreography in the back of the room at the same time the dancers were learning it. Then I
         would go to my notes and make sure to record the choreography in a way that made sense to me. I had to
         record not just the steps, but also the spacing and traffic patterns. The traffic is probably one of the most
         important elements for a swing to understand because you want to go in seamlessly and safely. You don’t
         want it to be a day at the rodeo! Therefore, you have to be accurate to remember when you’re crossing
         downstage or upstage, before or after, left or right. I sort of consider myself like a firefighter—as soon as I
         get the call I just go and I know what to do. That’s your job as a swing: to make the show run smoothly.”

         How do you stay performance-ready all the time?

         “I warm up­ both physically and vocally before every show. I take care of myself just as I would if I were
         performing on-stage every night—eat healthy food, get enough sleep, go to the gym, go to ballet class. It’s
         really about keeping yourself in ‘tip-top’ shape but also stimulated, too. You’re not expending that energy for
         two hours every night so you have to find other ways to express that in order to keep your integrity as a
         performer.”

         While you may not get the chance to see Caitlin performing on stage, swings are an integral part of any show.
         An American in Paris is currently playing at The Palace Theatre. Tickets are available at
         Ticketmaster.com. If I were you, I’d be sure to check out this spectacular production before Tony Awards
         season (An American in Paris is tied with Fun Home for the most—twelve—nominations including Best
         Choreography and Best Musical).

         By Mary Callahan of Dance Informa.

         Photo(top): The company perform An American In Paris. Photo by Angela Sterling 2014.



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